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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

STRIKE 3 HOLDINGS, LLC,                    §
                                           §
                    Plaintiff,             §
                                           §
      v.                                   §
                                               Case No. 3:23-cv-01669-B
                                           §
JOHN DOE, subscriber assigned IP address   §
24.170.6.13,                               §
                                           §
                    Defendant.             §

 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
EX-PARTE MOTION FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA PRIOR
                   TO A RULE 26(f) CONFERENCE




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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
    EX-PARTE MOTION FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA PRIOR
                       TO A RULE 26(f) CONFERENCE

         Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff hereby respectfully submits this

Memorandum of Points and Authorities in support of its Motion for Leave to serve a third-party

subpoena prior to a Rule 26(f) conference.

    I.   INTRODUCTION

         Plaintiff, Strike 3 Holdings, LLC (“Strike 3”) is the owner of original, award-winning

motion pictures featured on its brands’ subscription-based adult websites. Unfortunately, Strike

3’s success has led users on the Internet to illegally infringe its works on a very large scale.

Indeed, Strike 3’s motion pictures are among the most infringed content in the world. See

Declaration of David Williamson, attached hereto as Exhibit “A.”

         Strike 3, using its proprietary forensic software, VXN Scan (“VXN”), monitored and

detected the infringement of Strike 3’s content. See id. at ¶ 40. VXN discovered that

Defendant’s IP address was illegally distributing several of Strike 3’s motion pictures. See

Declaration of Patrick Paige, attached hereto as Exhibit “B”. This IP address is assigned to

Defendant by his or her Internet Service Provider (“ISP”), which is the only party with the

information necessary to identify Defendant by correlating the IP address with John Doe’s

identity. Id. at ¶ 22. As a result, Plaintiff now seeks leave to serve limited, immediate discovery

on Defendant’s ISP, Spectrum (Spectrum) so that Plaintiff may learn Defendant’s identity,

investigate Defendant’s role in the infringement, and effectuate service. Further impelling

expediency, Defendant’s ISP only maintains the internal logs of the requested information for a

brief period of time.1


1
 See, e.g., Statement Of Jason Weinstein Deputy Assistant Attorney General Criminal Division Before The
Committee On Judiciary Subcommittee On Crime, Terrorism, And Homeland Security United States House Of
Representatives, (January 2011) at
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        Plaintiff seeks leave of Court to serve a Rule 45 subpoena on Defendant’s ISP. This

subpoena will only demand the true name and address of Defendant. Plaintiff will only use this

information to prosecute the claims made in its Complaint. Without this information, Plaintiff

cannot serve Defendant nor pursue this lawsuit and protect its copyrights.

 II.    FACTS

        A. Plaintiff Has A Serious Copyright Infringement Problem

       Strike 3 holds title to the intellectual property associated with the Blacked, Blacked Raw,

Slayed, Tushy, Tushy Raw, and Vixen adult brands (the “Brands”), including the copyrights to

each of the motion pictures distributed through the Brands’ sites and the trademarks to each of

the Brand’s names and logos. Decl. Williamson at ¶ 13. Strike 3 is owned entirely by General

Media Systems (“GMS”) and has existed since 2015. Id.

        Although it started out small, the Brands’ websites now host approximately 15 million

visitors each month. Id. at ¶ 14. This success is no fluke. Strike 3’s philosophy has always been

to pay artists and models an amount above that being paid by other companies, focusing on

delivering superior quality films. Id. at ¶¶ 15–17. Moreover, Strike 3’s motion pictures are

known for having some of the highest production budgets of any in the adult industry. Id. at ¶

19.

        Because of this commitment to quality, the websites for the Brands have a subscriber

base that is one of the highest of any adult sites in the world. Id. at ¶ 20. Strike 3 is also

currently the number one seller of adult DVDs in the United States. Id. at ¶ 21. Finally, Strike

3’s content is licensed throughout the world, including by most major cable networks. Id. at ¶

22. This success has led to numerous awards being bestowed upon Strike 3, such as “adult site



http://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/01/25/11//01-25-11-crm-weinstein-
testimony-re-data-retention-as-a-tool-for-investigating-internet-child-pornography-and-other-internet-crimes.pdf,
stating: “Some [ISP] records are kept for weeks or months; others are stored very briefly before being purged.”
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of the year,” “best marketing campaign – company image,” and “best cinematography.” Id. at ¶

23.

       Unfortunately, piracy is a major threat and causes tremendous damage to Strike 3, and

Strike 3 “can compete in the industry, but [it] cannot compete when our content is stolen.” Id. at

¶ 26. To continue to provide value for members, exciting and inspiring projects for adult

performers, and to continue to create top paying jobs and growth in the adult community, Strike

3 must protect its copyrights. Id. at ¶ 39.


       B. Plaintiff Brings Its Litigation in Good Faith


       Strike 3 is mindful of the nature of the litigation and its goal is to not disclose publicly the

choices that people make regarding the content they wish to enjoy. Moreover, Strike 3 does not

seek to force anyone to settle unwillingly, especially anyone that is innocent. Id. at ¶ 33.

Therefore, Strike 3 only files strong cases against extreme infringers. Id. at ¶ 34. Indeed, each

lawsuit is brought against infringers that not only engage in illegal downloading, but are also

large scale unauthorized distributors of Strike 3’s content. Id. Strike 3 does not seek settlements

unless initiated by a defendant or a defendant’s counsel. Id. at ¶ 35. Additionally, Strike 3 does

not send demand letters. Id. Finally, although certainly Strike 3 does not believe anyone should

be embarrassed about enjoying Strike 3’s works (they just need to pay for that right, not steal it),

Strike 3 respects the desire of defendants to keep private their choices regarding the content they

choose to enjoy. Accordingly, Strike 3 has a policy to: (1) enter into confidentiality agreements

with defendants to facilitate resolution of a case; and (2) stipulate to requests by defendants to

the entry of orders in litigation to maintain the confidentiality of a defendant’s identity. Thus,

Strike 3 is careful to only proceed to litigation with strong cases, when it has a good faith basis

for doing so, and to enforce its rights in a way that is mindful of a defendant’s privacy interests.

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       Strike 3 is a successful adult entertainment company that makes nearly all of its revenue

from sales of subscriptions, DVDs and licenses. Id. at ¶ 37. Strike 3’s goal is to deter piracy

(and seek redress for its harmful consequences) and direct those who infringe content to the

avenue of legitimately acquiring access to Strike 3’s works. Id.


III.   ARGUMENT

       A. Legal Standard Governing Expedited Discovery Requests To Identify An
          Anonymous Defendant

       “In cases involving as-yet-unknown defendants, in which the plaintiff cannot serve its

complaint—much less confer with the defendant—without obtaining identifying information

from a third party, ‘the only potential avenue for discovery is [a court order under] Rule

26(d)(1).’” Strike 3 Holdings, LLC v. Doe, 964 F.3d 1203, 1207 (D.C. Cir. 2020) (citation

omitted); cf. TCYK, LLC v. Does 1-20, No. 13-3927-L, 2013 WL 6475040, at *1 (N.D. Tex. Dec.

10, 2013) (noting a motion for early discovery to identify a subscriber who infringed copyrights

using the BitTorrent is “is not the first of its kind”). Pursuant to Fed. R. Civ. P. 26(d)(1), except

for circumstances not applicable here, absent a court order, a party may not propound discovery

in advance of a Rule 26(f) conference. Rule 26(b) provides courts with the authority to issue

such an order: “[f]or good cause, the court may order discovery of any matter relevant to the

subject matter involved in the action.”

       “Courts have weighed several factors in determining whether such early discovery is

appropriate, including: (1) whether the plaintiff makes a prima facie showing of harm; (2) the

specificity of the discovery request; (3) the absence of alternative means to obtain the

subpoenaed information; (4) the necessity of the subpoenaed information to advance the claim;




                                                                                                Page 4
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and (5) the user's expectation of privacy.”2 Combat Zone Corp. v. John/Jane Does 1-5, No. 12-

4005-M, 2012 WL 5289736, at *1 (N.D. Tex. Oct. 26, 2012) (citation omitted); accord Studio

W. Prods., Inc v. Does 1-237, No. 12-3690, 2013 WL 12158061, at *1 (S.D. Tex. Mar. 11, 2013)

(citing Arista Records, LLC v. Doe 3, 604 F.3d 110, 114 (2d Cir. 2010)). Here, Plaintiff easily

satisfies all of these requirements.


         B. Good Cause Exists for this Court to Grant Plaintiff’s Motion for Leave to Serve
            Its Subpoena

             1. Plaintiff’s Complaint Makes A Prima Facie Claim for Direct Copyright
                Infringement

         To make a prima facie claim for copyright infringement, Plaintiff must show

(1) ownership of a valid copyright, and (2) copying of constituent elements of the work that are

original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). Plaintiff’s

Complaint accomplishes this, stating: (1) “Plaintiff is the owner of the Works, which [are] an

original work of authorship”; (2) “[d]efendant copied and distributed the constituent elements of

Plaintiff’s Works using the BitTorrent protocol”; and (3) “[a]t no point in time did Plaintiff

authorize, permit or consent to Defendant’s distribution of its Works, expressly or otherwise.”

See Complaint at ¶¶ 35–37.

         Plaintiff owns a valid copyright in the Works, which are registered with the United States

Copyright Office. See 17 U.S.C. § 410(c); Fourth Estate Pub. Benefit Corp. v. Wall-Street.com,

LLC, 139 S. Ct. 881, 888, 203 L. Ed. 2d 147 (2019); see also Complaint at ¶¶ 32–33. Plaintiff’s

prima facie allegations of infringement are attested to by Plaintiff’s investigator, David


2
  As noted in Court of Appeals for the District of Columbia, the Federal Rules were amended in 2015 to remove the
“good cause” standard “and replaced it with the overarching relevance and proportionality standard . . . .” Strike 3
Holdings, LLC v. Doe, 964 F.3d 1203, 1207 n.2 (D.C. Cir. 2020). Nevertheless, courts “have continued to look to
the good cause factors in analyzing motions for expedited discovery.” See Strike 3 Holdings, LLC v. Doe, No. 20-
5123 (KSM), 2020 WL 6342770, at *1 (E.D. Pa. Oct. 29, 2020). Strike 3 presents the traditional good cause
standard here because several of those factors address the relevance and proportionality of Plaintiff’s request, and
thus discovery is appropriate under either standard.
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Williamson, who used Plaintiff’s forensic software to track and record BitTorrent activity. See

Decl. Williamson. Finally, each digital file has been verified to be a copy of one of Plaintiff’s

copyrighted Works. See Declaration of Susan B. Stalzer, Exhibit “C.”

       Plaintiff has also made a plausible prima facie showing of “copying.” “‘The word

'copying' is shorthand for the infringing of any of the copyright owner's five exclusive rights’

described in § 106.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001).

Plaintiff’s Complaint alleges that Doe not only downloaded Plaintiff’s works over the BitTorrent

network, see 17 U.S.C. § 106(1), but also distributed these files to the BitTorrent swarm. See id.

§ 106(3); see also Complaint at ¶ 38. Thus, Plaintiff “has made a prima facie showing of

copyright infringement by alleging that it owns the copyright at issue and that Defendants made

unauthorized reproductions of those works and distributed them without [Plaintiff’s]

authorization.” Combat Zone Corp., No. 12-4005-M, 2012 WL 5289736 at *1.

           2. Plaintiff Identifies the Limited and Specific Information Its Subpoena Seeks
              That Is Necessary to Serve Doe Defendant

       Plaintiff’s subpoena is limited and only “seeks concrete and narrow information: the

name and address of the subscriber associated with [Doe Defendant’s] IP address . . . .” John

Wiley & Sons, Inc. v. Doe, 284 F.R.D. 185, 190 (S.D.N.Y. 2012). “Plaintiff's discovery request is

sufficiently specific to establish a reasonable likelihood that the discovery request would lead to

identifying information that would make possible service upon particular defendants who could

be sued in federal court.” FUNimation Entm't v. Does 1 - 1,427, No. 11-269, 2012 WL

12897376, at *2 (E.D. Tex. Mar. 16, 2012); see Combat Zone Corp. v. John/Jane Does 1-5, No.

12-4005-M, 2012 WL 5289736, at *1 (N.D. Tex. Oct. 26, 2012) (“The information sought is

specific.”); Combat Zone Corp. v. John/Jane Does 1-13, No. 12-3927-B, 2013 WL 230382, at *5

(N.D. Tex. Jan. 22, 2013) (finding a subpoena limited to identifying an infringer “satisfies the

second factor”). “The identifying information would enable Plaintiff to serve process on
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Defendants.” FUNimation Entm't, No. 11-269, 2012 WL 12897376 at *2. Hence the second

factor weighs in Plaintiff’s favor.

               3. There Are No “Alternative Means” to Uncover Doe Defendant’s True Identity

           At this early stage in litigation, Plaintiff has a limited view into Defendant’s true identity,

only having access to the offending IP address. People using the Internet are anonymous to the

public, but the ISPs responsible for assigning any given IP address “know who an address is

assigned to and how to get in contact with them.”3 ISPs’ records “are the only available

evidence that allows us to investigate who committed crimes on the Internet. They may be the

only way to learn, for example, that a certain Internet address was used by a particular human

being to engage in or facilitate a criminal offense.”4

           Since there is no public registry of what IP addresses correspond to which subscribers,

Plaintiff’s subpoena is necessary to advancing litigation. See Exhibit “C” (“[A] subpoena to an

ISP is consistently used by civil plaintiffs and law enforcement to identify a subscriber of an IP

address.”); BMG Rts. Mgmt. (US) LLC v. Cox Commc'ns, Inc., 881 F.3d 293, 299 (4th Cir. 2018)

(noting “only the ISP can match the IP address to the subscriber's identity”); see also Studio W.

Prods., No. 12-3690, 2013 WL 12158061 at *2 (“ISPs can identify each Defendant by name

through the IP address by reviewing its subscriber activity logs.”). “Indeed, the Cable Privacy

Act prohibits cable operators, which includes the ISPs identified here, from disclosing

subscribers' personal information without their consent or a court order.” Combat Zone Corp.,

No. 12-4005-M, 2012 WL 5289736 at *2 (citing 457 U.S.C. § 551(c)(2)(B)); see TCYK, LLC,

No. 13-3927-L, 2013 WL 6475040 at *2 (“Plaintiff alleges that it has obtained all the



3
     Beginner’s    Guide     to    Internet      Protocol    (IP)    Addresses   at    p.    4,    available  at
https://www.icann.org/en/system/files/files/ip-addresses-beginners-guide-04mar11-en.pdf.; American Registry for
Internet Numbers Number Resource Policy Manual at 4.2, available at https://www.arin.net/policy/nrpm.html#four2.
4
    Statement from Jason Weinstein, n.2, supra.
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information that it can through informal discovery.”). “Without this Order, therefore, there does

not seem to be any way for Combat Zone to identify the Defendants and, thus, to properly serve

them.” Combat Zone Corp., No. 12-4005-M, 2012 WL 5289736, at *2.


            4. The Subpoenaed Information Is Necessary to Advance Plaintiff’s Infringement
               Claim

        “Plaintiff has also demonstrated that the subpoenaed information is centrally needed for it

to advance its copyright infringement claims. Ascertaining the identities and residences of the

Defendant[] is critical to Plaintiff's ability to pursue litigation, for without this information,

Plaintiff will be unable to serve process.” FUNimation Entm't, No. 11-269, 2012 WL 12897376

at *2; Strike 3 Holdings, LLC v. Doe, No. 17-2347 (TJK), 2018 WL 385418, at *2 (D.D.C. Jan.

11, 2018) (finding “this suit cannot move forward without Plaintiff first being able to identify

Defendant so that service can be effected”). “Furthermore, a subpoena is appropriate because

ISPs typically retain user activity logs containing the information sought for only a limited

period of time before erasing the data. Once that information is erased, Plaintiff will have no

ability to identify the Doe Defendants and will be unable to advance its claim.” Studio W. Prods.,

Inc, No. 12-3690, 2013 WL 12158061 at *2.

        “Plaintiff cannot proceed with claims without the discovery requested because the ISPs

are the only entities that can identify the otherwise anonymous Defendants.” Id. “In fact, a court

that conducted an extensive survey of similar motions to expedite discovery found no indication

that the plaintiffs have any reasonable alternative to these subpoenas to obtain the identities of

the alleged infringers. Thus, without granting Plaintiff's request, the defendants cannot be

identified . . . and litigation cannot proceed.” Combat Zone Corp, No. 12-3927-B, 2013 WL

230382 at *5 (citing Digital Sin, Inc. v. Does 1–176, 279 F.R.D. 239, 241–42 (S.D.N.Y. 2012)

(internal quotations omitted)).

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             5. Defendant’s Minimum Privacy Interest Is Substantially Outweighed by
                Plaintiff’s Interest in Protecting Its Copyrights from Mass BitTorrent
                Infringers

        The Fifth Circuit has recently held that information attached to an anonymous user’s IP

address or peer-to-peer (like BitTorrent) activity do not engender a privacy interest. See United

States v. Weast, 811 F.3d 743, 747–48 (5th Cir.), cert. denied, 137 S. Ct. 126, 196 L. Ed. 2d 99

(2016). When a party “voluntarily share[s] all of the information at issue in this case” and

“broadcast[s] his [or her] IP address far and wide in the course of normal internet use, [and

makes] files and related data publicly available by downloading them into a shared folder

accessible through a peer-to-peer network[:] Such behavior eliminates any reasonable

expectation of privacy in the information . . . .” Id.

         The Weast court also noted the growing jurisprudence in the Circuit Court of Appeals

that “other courts have consistently held that Fourth Amendment protections do not extend to

data shared through peer-to-peer networks.” Id. at 747 (citing United States v. Christie, 624 F.3d

558, 573 (3d Cir. 2010); United States v. Perrine, 518 F.3d 1196, 1204 (10th Cir. 2008); United

States v. Wheelock, 772 F.3d 825, 828 (8th Cir. 2014); United States v. Bynum, 604 F.3d 161,

164 (4th Cir. 2010)). “Given that the Defendant's IP address was required to be disclosed to

various third parties . . . to access the website, any subjective expectation of privacy the

Defendant may have possessed was not objectively reasonable.” United States v. Halgren, No.

CR 16-008-XR, 2017 WL 3741558, at *3 (W.D. Tex. Aug. 30, 2017) (citing Weast, 811 F.3d at

747). That is, “there is no constitutional right—under the First Amendment5 or the right to



5
  In evaluating the fifth factor, some courts have treated Doe Defendant’s privacy interest concurrently or
equivalently to his or her First Amendment interest in anonymous speech. See e.g., Studio W. Prods., Inc v. Does 1-
237, No. 12-3690, 2013 WL 12158061, at *3 (S.D. Tex. Mar. 11, 2013) (“Defendants' First Amendment rights to
anonymity do not preclude disclosure of identifying information”) (citation omitted). “However, anonymous speech
does not protect copyright infringement, and [Defendant] may not use the First Amendment to encroach upon the
intellectual property rights of others.” FUNimation Entm't v. Does 1 - 1,427, No. 11-269, 2012 WL 12897376, at *2
(E.D. Tex. Mar. 16, 2012) (citing Sony Music Entm't Inc. v. Does 1-40, 326 F.Supp.2d 556, 563 (S.D.N.Y. 2004)
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privacy—to anonymously engage in copyright infringement.” Malibu Media, LLC v. Doe, No.

17-0485, 2017 WL 3394611, at *2 (S.D. Tex. Aug. 8, 2017) (denying defendant’s motion to

quash a plaintiff’s subpoena in a similar copyright BitTorrent litigation) (citation omitted). Thus,

all five factors weigh in favor of granting Plaintiff’s Motion for Leave.

        C. Protective Order

        Previously, this Court has found it appropriate to issue a protective order for Does to

safeguard the early discovery process. See e.g., Combat Zone Corp. v. John/Jane Does 1-5, No.

12-4005-M, 2012 WL 5289736 at *2. Strike 3 respectfully encourages the Court to establish

such procedures here.

IV.     CONCLUSION

        For the foregoing reasons, Plaintiff respectfully requests this Court grant leave to Plaintiff

to issue a Rule 45 subpoena to Defendant’s

ISP. Dated: 10/27/2023                                       Respectfully submitted,

                                                             By: /s/ Paul S. Beik_____
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(citations omitted)). “Defendants' First Amendment right to remain anonymous must give way to Plaintiff's right to
use the judicial process to pursue what appear to be meritorious copyright infringement claims.” Id. at *3.
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                                Certificate of Non-Conferral

      Because Plaintiff does not at this time know the identity of Doe Defendant, Plaintiff was

unable to confer with Defendant or his or her counsel regarding the present Motion.



                                                         /s/ Paul S. Beik




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